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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

STUDENT RESOURCE CENTER,                           :
                                                   :
               Plaintiff,                          :   Case No. 2:22-cv-2653
                                                   :
       v.                                          :   Chief Judge Algenon L. Marbley
                                                   :
EASTERN GATEWAY COMMUNITY                          :   Magistrate Judge Chelsey M. Vascura
COLLEGE,                                           :
                                                   :
               Defendant.                          :

                   ORDER SETTING LOCAL RULE 65.1 CONFERENCE

       Plaintiff has filed a Motion for Defendant to Show Cause for Violating, and to Expand, the

Court’s July 11, 2022 Order Granting Plaintiff’s Motion for Preliminary Injunction (ECF No. 18).

Defendant’s response to this Motion is due by 12:00 noon on Tuesday, August 16, 2022.

Plaintiff’s reply brief will not be necessary.

       Furthermore, Plaintiff’s request for a status conference pursuant to Local Rule 65.1 is

granted. The status conference will be in-person on Wednesday, August 17, 2022, at 3:00 p.m.,

in Chambers. It may not be continued by stipulation of the parties or counsel, but only by an order

of the Court on good cause shown.

       IT IS SO ORDERED.




                                                 ALGENON L. MARBLEY
                                                 CHIEF UNITED STATES DISTRICT JUDGE
DATED: August 12, 2022
